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                                         ESTADOS UNIDOS CORTE DE DISTRITO
                                         Distrito Sur de Florida Caso No. 17-20144-CR-ALTONAGA




   ESTADOS UNIDOS DE AMÉRICA vs.




   EDISON WASHINGTON PRADO ALAVA,

             Acusado.
                                                                       /


                                                      ACUERDO CON EL FISCAL


             La Oficina del Fiscal de los Estados Unidos para el Distrito Sur de Florida ( “esta Oficina”) y


  EDISON WASHINGTON PRADO ALAVA ( en lo sucesivo denominado el “demandado”) entrar en el siguiente acuerdo:




            1.          El acusado acepta declararse culpable de Cargo 1 de la Acusación, que los cargos


  el acusado de conspirar con otros para distribuir más de cinco (5) kilogramos de cocaína, a sabiendas de que iba a ser importada


  ilegalmente a los Estados Unidos, en violación del Título 21, Código de Estados Unidos, Sección 959 (a) (2); todo ello en violación del


  Título 21, Código de Estados Unidos, Sección 963.


            2.          El acusado es consciente de que la sentencia será impuesta por la Corte después de


  teniendo en cuenta las directrices federales de condenación de asesoramiento y declaraciones de política (en adelante “las pautas de


  sentencia”). El acusado reconoce y entiende que la Corte computar una sentencia de consulta sobre las Guías de Sentencia y que las


  directrices aplicables será determinado por el Tribunal basándose en parte en los resultados de una investigación previa a la sentencia


  por la oficina de libertad condicional de la Corte, que la investigación se iniciará después de la declaración de culpabilidad ha sido


  introducido. El acusado también es consciente de que, bajo ciertas circunstancias, la Corte podrá apartarse del margen de las pautas


  de sentencia de asesoramiento que ha calculado, y puede aumentar o disminuir esa frase de consulta sobre las Guías de Sentencia. El


  acusado es más consciente y entiende que se requiere a la Corte a considerar el margen de las pautas de asesoramiento corresponda


  conforme a la Sentencia
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  Directrices, pero no está obligado a imponer una sentencia dentro de ese rango de asesoramiento; la Corte se le permite


  adaptar la sentencia definitiva a la luz de otras preocupaciones legales, y dicha frase puede ser más grave o menos grave que la


  gama de asesoramiento las Guías de Sentencia. Conociendo estos hechos, el acusado entiende y reconoce que la Corte tiene


  la autoridad para imponer cualquier sentencia dentro y hasta el máximo legal autorizado por la ley para el delito señalado en el


  párrafo 1 y que el acusado no podrá retirar la petición únicamente como resultado de la pena impuesta.




             3.          El acusado también entiende y reconoce que la Corte debe imponer una

  pena de prisión mínima de diez (10) años y podrá imponer una pena máxima legal de prisión de hasta la vida,

  seguido por un plazo mínimo de libertad supervisada de cinco (5) años y hasta la vida.

                    Además de una pena de prisión y libertad bajo supervisión, la Corte podrá imponer una multa de hasta $


  10.000.000.


             4.          El acusado entiende más y reconoce que, además de cualquier

  condena impuesta en virtud del apartado 3 de este acuerdo, una evaluación especial en la cantidad de $ 100 se impone a la parte


  demandada. El acusado está de acuerdo en que cualquier evaluación especial impuesto se pagará en el momento de la sentencia.


                                                      Si un acusado es financieramente incapaz de pagar la cuota especial,


  el acusado se compromete a presentar pruebas a esta Oficina y la Corte en el momento de la sentencia en cuanto a las razones para el fracaso de la


  parte demandada a pagar.


             5.          Esta Oficina se reserva el derecho de informar a la Corte y de la oficina de libertad condicional de todos los hechos


  pertinente para el proceso de sentencia, incluyendo toda la información pertinente relativa a los delitos cometidos, ya sea cargada


  o no, así como en relación con el acusado y el fondo de la parte demandada. Con sujeción únicamente a los términos expresos de


  las recomendaciones de sentencia acordada contenidas en este acuerdo, esta Oficina se reserva además el derecho de hacer


  cualquier recomendación en cuanto a la calidad y cantidad de la pena.




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            6.           Los Estados Unidos están de acuerdo que se recomendará en la sentencia que el Tribunal a reducir


  por dos niveles, el nivel de referencia de sentencia aplicables a la ofensiva de la parte demandada, de conformidad con la Sección 3E1.1


  (a) de las Guías de Sentencia, basadas en el reconocimiento de la parte demandada y la aceptación positiva y oportuna de la


  responsabilidad personal.                                                                       Si en el momento de la sentencia del


  nivel de la ofensa del acusado se determina que es 16 o mayor, el gobierno presentará una moción solicitando una disminución de un nivel


  adicional de conformidad con la Sección 3E1.1 (b) de las Guías de Sentencia, haciendo constar que el demandado ha ayudado a las


  autoridades en la investigación o el enjuiciamiento de propia mala conducta del acusado por las autoridades de notificación oportuna de la


  intención del acusado de entrar en una declaración de culpabilidad, permitiendo de esta manera el gobierno para evitar la preparación del


  juicio y permitir que el gobierno y la Corte a asignar sus recursos de manera eficiente. Los Estados Unidos están de acuerdo, además,


  recomendar que el acusado sea condenado en el extremo inferior del rango de referencia, ya que el rango está determinado por el Tribunal.


  Los Estados Unidos, sin embargo, no se requiere para hacer este movimiento y estas recomendaciones, si la parte demandada: (1) no


  presenta o rehúsa hacer una divulgación completa, exacta y completa a la oficina de libertad condicional de las circunstancias que rodean la


  conducta delito pertinente; (2) se encuentra que han falseado los hechos al gobierno antes de entrar en este acuerdo de culpabilidad; o (3)


  sobre cualquier mala conducta después de la firma de este acuerdo entre las partes, incluyendo pero no limitado a la comisión de un delito


  estatal o federal, que viola cualquiera de los términos de la liberación, o hacer declaraciones falsas o tergiversaciones a cualquier entidad


  gubernamental u oficial.




            7.           Esta Oficina y el demandado están de acuerdo en que, aunque no vinculante para el período de prueba


  oficina o la Corte, se recomendarán conjuntamente que la Corte haga las siguientes constataciones y conclusiones en cuanto a


  la pena a imponerse:




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             (un). Cantidad de drogas : Que la cantidad de sustancia controlada, la cocaína, que participan en la infracción, para fines


  de la Sección 2D1.1 (a) y (c) de las Directrices de Sentencias es de al menos 450 kilogramos.




             (segundo). El papel agravante : Que de conformidad con la Sección 3B1.1 (b) de las Guías de Sentencia, el acusado era un


  organizador, líder, o el gerente o supervisor de la actividad delictiva descrita en el Primer Cargo de la Acusación 1.




             8.         Las partes acuerdan que esta oficina, ni el acusado solicitarán una salida

   de la gama de prisión directriz o buscar una varianza de conformidad con 18 USC § 3553 (a).


             9.         El acusado es consciente de que la sentencia aún no ha sido determinado por el Tribunal.


   El acusado también es consciente de que cualquier estimación del rango de sentencia probable o sentencia que el

   acusado puede recibir, ya que la estimación proviene de abogado del acusado, el gobierno o la oficina de libertad

   condicional, es una predicción, no una promesa, y no es vinculante en el gobierno, la oficina de libertad condicional

   o de la Corte. El acusado entiende además que cualquier recomendación de que el gobierno hace a la Corte en la

   sentencia, ya sea en virtud de este acuerdo o de otra manera, no es vinculante para la Corte y la Corte podrá no

   tener en cuenta la recomendación en su totalidad. El acusado entiende y reconoce, como ha reconocido

   anteriormente en el párrafo 3 anterior, que el acusado no podrá retirar su petición en base a la decisión de la Corte

   de no aceptar una recomendación de sentencia hecha por el acusado, el gobierno,




            10.         El acusado acepta que cooperará plenamente con esta Oficina por: (a) proporcionar


   información y testimonio veraz y completa, y la producción de documentos, archivos y otras pruebas, cuando sea llamado por esta


   Oficina, ya sea en entrevistas, ante un gran jurado, o en cualquier juicio u otro procedimiento Corte; (B) que aparece en tales


   procedimientos gran jurado, audiencias, ensayos, y otra
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   los procesos judiciales, y en las reuniones, como puede ser requerido por esta Oficina; y C)                            si así lo solicita


   esta Oficina, trabajando en un papel encubierto bajo la supervisión de, y en cumplimiento de, los agentes del orden y los


   agentes.                                          Además, el acusado acepta que no protege la

   persona o entidad a través de información falsa u omisión, que no va a implicar falsamente a cualquier persona o entidad, y que no


   va a cometer crímenes adicionales.


            11.         Esta Oficina se reserva el derecho de evaluar la naturaleza y extensión de la parte demandada de


   cooperación y para hacer que la cooperación, o falta de ella, conocidos por la Corte en el momento de la sentencia.


                      Si en la suela y inapelable juicio de esta Oficina de Cooperación de la parte demandada


   es de tal calidad e importancia a la investigación o el enjuiciamiento de otros asuntos penales como para

   justificar la salida a la baja de la Corte de la gama de sentencia de asesoramiento calculado bajo las Guías de

   Sentencia y / o cualquier sentencia obligatoria mínima aplicable, esta Oficina podrá presentar una moción antes

   de la sentencia de conformidad con la Sección 5K1.1 de las Guías de sentencia y / o Título 18, Código, Sección

   3553 (e), o con posterioridad a la sentencia de conformidad con la Regla 35 de las Reglas federales de

   Procedimiento Penal, informando a la Corte de Estados Unidos que el demandado ha proporcionado una ayuda

   sustancial y recomendando que se reduzca la sentencia del acusado. El acusado entiende y está de acuerdo,

   sin embargo, que nada en este acuerdo requiere esta Oficina a presentar cualquier tipo de mociones,




            12.         El acusado entiende y reconoce que la Corte no tiene ninguna obligación

   conceder una moción para reducir la pena presentada por esta Oficina.                          Además, la demandada

   entiende y reconoce que la Corte no tiene ninguna obligación de cualquier tipo para reducir la sentencia del acusado debido a


   la cooperación de la parte demandada.
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             13.        El acusado se compromete a renunciar a los Estados Unidos de manera voluntaria e inmediatamente todos


   constituyendo la propiedad, o derivados del producto obtenido, directa o indirectamente, como resultado de la

   conspiración para distribuir más de cinco (5) kilogramos de cocaína sabiendo que fue importada ilegalmente a

   los Estados Unidos, en violación del Título 21, Código de los Estados Unidos , Sección 963 y acusado en el

   Primer Cargo de la Acusación 1. La propiedad sujeta a confiscación incluye, pero no se limita a, la cantidad total

   de los ingresos obtenidos, directa o indirectamente, como resultado de la conspiración cargada, que es al

   menos $ 5 millones en moneda estadounidense y puede ser solicitada como dinero confiscación sentencia

   contra el demandado. El acusado se compromete a permitir la entrada de órdenes de confiscación de dichos

   bienes.




             14.        El acusado se compromete a cooperar plenamente con el Gobierno en todos los procedimientos,


   administrativa o judicial, que implica la pérdida de los Estados Unidos de todos los derechos, títulos e intereses, independientemente de su


   naturaleza o forma, en todos los bienes, incluidos los bienes muebles e inmuebles, dinero en efectivo y otros instrumentos monetarios,


   dondequiera que se encuentren, que el acusado u otros para el conocimiento del acusado han acumulado como resultado de las actividades


   ilegales. La asistencia de la parte demandada deberá incluir: identificación de cualquier propiedad sujeta a confiscación, de acuerdo a la


   entrada de una orden prohibiendo la transferencia o gravamen de dichos bienes y en la transferencia de dichos bienes a los Estados Unidos


   mediante su entrega a esta Oficina, a petición de esta Oficina , toda la documentación necesaria y apropiada, incluyendo su consentimiento a


   la pérdida y dejar de reclamar obras, para entregar título válido y comercializable a dicha propiedad. El acusado está de acuerdo en que


   Estados Unidos deberá, a su discreción, el derecho de la pérdida de cualquier propiedad (activos de sustitución) de la parte demandada a


   cumplir la sentencia de dinero confiscación. El acusado está de acuerdo en que todos los elementos del título 21, Estados Unidos




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   Código, Sección 853 (p) han sido satisfechas. El acusado se compromete además a tomar todas las medidas necesarias para localizar la


   propiedad que podría ser utilizado para satisfacer el juicio de dinero confiscación y pase a titularidad de al menos $ 3 millones en moneda


   estadounidense a los Estados Unidos al menos una semana antes de la sentencia del acusado. El acusado se compromete a liquidar activos o


   completar cualquier otra tarea, que se traducirá en el pago inmediato de la sentencia de dinero confiscación en su totalidad, o el pago completo


   en el menor tiempo posible, conforme a lo solicitado por el Gobierno. El acusado está de acuerdo en que no va a vender, ocultar los residuos,


   gravar, destruir, o de otra manera devaluar cualquier activo sin la aprobación previa del Gobierno, hasta que se pague su sentencia de dinero


   confiscación en su totalidad.




              15. El acusado renuncie a sabiendas y voluntariamente toda constitucional, legal y equitativa


   defensas a la confiscación de los activos en cualquier procedimiento judicial o administrativo, incluyendo cualquier reclamación o defensa de


   conformidad con la Octava Enmienda de la Constitución de los Estados Unidos; renuncia a cualquier plazos aplicables a la iniciación de


   procedimientos administrativos o judiciales, y renuncia a cualquier derecho de apelar la confiscación. La demandada de acuerdo en que la


   pérdida es independiente de cualquier evaluación, multas, costos, órdenes de restitución, o cualquier otra sanción que pueden ser impuestas


   por el Tribunal.


             dieciséis.   El acusado es consciente de que el Título 18, Código de Estados Unidos, Sección 3742 y el Título 28,


   Código de Estados Unidos, Sección 1291 permitirse al acusado el derecho de apelar la condena impuesta en este caso. Reconociendo


   esto, a cambio de los compromisos adquiridos por los Estados Unidos en este acuerdo de culpabilidad, el acusado presente renuncia a


   todos los derechos conferidos por las Secciones 3742 y 1291 de apelar cualquier pena impuesta, incluyendo cualquier orden de


   restitución, o apelar la manera en que la sentencia se impuso, a menos que la sentencia excede el máximo permitido por la ley o es el


   resultado de una salida hacia arriba y / o una variación al alza del margen de las pautas de asesoramiento que la Corte establece en la


   sentencia. El acusado entiende, además, que no hay nada en este acuerdo afectará al derecho y / o el deber del gobierno de apelar


   como se establece en el Título 18, Código de Estados Unidos,




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   Sección 3742 (b) y el Título 28, Código de Estados Unidos, Sección 1291. Sin embargo, si los Estados Unidos apelan la


   sentencia del acusado conforme a las Secciones 3742 (b) y 1291, el acusado será liberado de la exención por encima de los


   derechos de apelación. Al firmar este acuerdo, el acusado reconoce que el acusado ha discutido la renuncia de apelación


   establecido en este acuerdo con el abogado de la parte demandada. El acusado también está de acuerdo, junto con esta


   Oficina, a solicitar a la Corte introduzca un hallazgo específico que la renuncia del acusado de su derecho a apelar la condena


   impuesta en este caso era saber y voluntaria.




            La demandada presente renuncia a todos los derechos conferidos por el Título 28, Código de Estados Unidos, Sección 1291


   para hacer valer cualquier reclamación que (1) el estatuto (s) a la que el acusado está declarando culpable es / son inconstitucionales;


   y / o (2) la conducta admitido no cae dentro del alcance de la ley (s) de convicción.




            17.         El acusado reconoce que declararse culpable puede tener consecuencias con respecto a la


  estatus migratorio del demandado si el demandado no es un ciudadano de los Estados Unidos. Bajo la ley federal, una amplia


  gama de delitos son delitos extraíbles, incluyendo el delito (s) a la que está acusado declarando culpable. La eliminación y otras


  consecuencias de inmigración son objeto de un proceso aparte, sin embargo, y el demandado entiende que nadie, ni siquiera el


  abogado del acusado o el Tribunal, puede predecir con certeza el efecto de la condena del acusado en el estatus migratorio de la


  parte demandada. El acusado, sin embargo, afirma que el acusado quiere declararse culpable sin tener en cuenta las


  consecuencias de inmigración que contestación de la demanda puede implicar, incluso si la consecuencia es la eliminación


  automática de la demandada de los Estados Unidos.




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           18.     Este es el acuerdo completo y el entendimiento entre esta Oficina y la

  acusado. No existen otros acuerdos, promesas, declaraciones o entendimientos.

                                            BENJAMIN G. Greenberg fiscal
                                            federal

  Fecha:                                            Por:
                                                    ROBERT J. EMERY
                                                    El fiscal federal adjunto

  Fecha:                                            Por: Richard J. DIAZ ABOGADO DEL
                                                    ACUSADO



  Fecha:                                            Por:
                                                    ACUSADO EDISON WASHINGTON PRADO
                                                    ALAVA




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